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EXHIBIT D
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HMOs

Afler Recording Return To:

Brokers Conduit
520 Bpéadhollow Road
Mealyflle, NY 11747

TAK MAP# 9G-2-35

Prepored By:
Megan Shea

Tox Map Relerence #/Parcel 1D, # 54~-16668499

7,

[Space Above This Line For Recording Data)

Nad
_=
CREDIT LINE DEED OF TRUST
{Line of Credit)
by THIS 15 A CREDIT LINE DEED OF TRUST AND SECURES THE MAXIMUM AGGREGATE
* PRINCIPAL AMOUNT OF § 81, 510,00 OUTSTANDING AT ANY ONE TIME,

NOTICE: THE DEBT SECURED HEREBY !S SUBJECT TO CALL IN FULL OR THE TERMS
THEREOF BEING MODIFIED IN THE EVENT OF SALE OR CONVEYANCE CF THE PROPERTY
CONVEYED,

-"™ ‘THIS CREDIT LINE DEED OF TRUST, dnted March 10, 2006 , is between
EDDY RAMIREZ,

residing of 29496 BEL PRE ROAD, Silver Spring, MD 20906

t
a ihe person or persons signing os “Grantorfe)" below nnd iereinufter referred to as "we" or “us* and
doy H Coffay

as (rustes and herednafer referred to os the "Trustes,” with no address ot 1604 Spring Hill Road,
Suite #110, Vienna, VA 221682

for the benefit of American Brokers Conduit

wilh an sddresa at 538 Broadhoilew Road, Maiville, N¥ 11747

pnd hereinafter referred to os "you" or the "Beneficiary."

PREMISES: In consideration of the Ioan herefnalier desorbed, we hereby mortgage, grant ond convey
to the Truslec, in trust, the premises located at: 4227 BERKLEY COURT, KING GEORGE, King

George,
Sueet, Municipallty
King George Virginia 22405 (the "Promisca"),
[Coumy) - (ap)
HELOG - VA Deed of Trust Poye 101% 100
FE-3T3 TIVA) (ooe71 ab, POAMSEDOE- (00)078-4457 Uottindes

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15:09 FACT FINDERS (FAX)

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mKOSS3137

to secure that certain Heme Equity Credit Lins Agreement end Disclosure Statement (the "Note" dated
March 10, 2006 and the other covenonts and agreements hereinafter set forth and further
described a5;

SEE PRELIMINARY TITLE REPORT

SEE ATTACHED LEGAL DESCRIPTION

The Promises includes oll buildings ond other loprovements now or in the farure on the Premises ond all
tights ond interests whith derive from our ownership, use or possession of the Premises and ail
appurtenances thereia,

LOAN: The Deed of Trust will secure your foun fn the princlpal amount of § 82,910.00 or 89
much thereof ss may bo afvanced end reedvanced from time to time tp EDDY RAMTRES

t
the Borrower(s) under the Note, plus interest end costs, fate charges ond al! other charges related to the lean,
all of which sums are repayable according to the Note, This Deed of Trust will also secure the performance
of of) of the promises and agreements made by us ond coch Borrower and Co-Signer in the Note, ol! of cur
promises and agreements in thls Deed of Trost, any extenstons, renewalk, amendments, supplements ond
other modifications of the Noto, and any amounts sdyenced by you under the temas of the section of this
Deed of Treat entitled "Our Authority To You." Loang under the Note may be mode, repaid and remade
from time to time in necordanes with the terms of the Note ond subject to the Credit Limit set forth in the
Note,

OWNERSHIP: We are the sale owner(s) of the Promises. We have the legal right Ip mortgage, grant and
convey the Premises to the Trustee,

BORROWER'S IMFORTANT OBLIGATIONS:

(0) TAXES: We will pay all real cetete toxen, neecesmianis, water charges and sewer reats relating io the
Premises when they become duc, We will nat claim ony credit on, of moke deduction from, the loon under
the Note because we pny these taxes and charges. We will provide you with proof of poyment upon request,

(b) MAINTENANCE: We will moiniain the building{s) on the Premises in good canditlon, We wlil
hot make mujor chonges in the building(s) sxccpt for normal repairs. We will not tear dowa any of the
bullding{s) on the Premises wlihout frst getting your consont, We will not une the Prenileos tepally. If this
Beed of Trust is ono unit ine condominium or a pinnned unit development, wo gholl perform al) of our
obligations under the declaration or covenants creating or governing the condominium or planned onit
development, the by-laws and regulations of the condominium or Planned unit development ond constituent
documents,

(c) INSURANCE: We will keep the building(s) on tho Premises insured at all thes aguinet loss by
lire, Mood end any other hozards you may specify, We may choose the iesuranee company, bot our choice is
subject to your reasonable approval. The policies naust be for ot Ienst tha amounts and the time periods that
you specify. We will deliver to yau upon your request the policies or other proof of the insurance. The
policies must nome you os "mortgagee" aod “loss-payee" 60 that you will receive peyment on ol] insurance
claims, a the extent of your interest under this Deed of ‘Trust, before we do. The insurance policles must
alec provide thot yoo be given not less thon 10 days prior written notice of any cancellation or reduction in
covernge, for any renson, Upon request, we shall deliver the polleles, certificates or other evidanen of
insuraues te you. In the event of loss or demage to the Promises, we will immedinioly notify you in writhig
and fite a proof of toss with the fnsurer, You may Gle a proof of loss on our beholf if we fall or refuse to do
Bo, You may also sign our name ta any check, draft or other onder for the payment of insurance proceeds in
the event of loss or damoge to the Premises, If you recefye payment of a clotm, you will have the right to
choose to use dhe money elther to repair the Premises or to reduce the amount owing on the Nate.

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FAX

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(d) CONDEMNATION: We assign to you the proceeds of any award or claim for damages, direct or
ransequentint, in connection with eny condemnation or other inking of the Premises, or part thereof, or for
conveyances in Heu of candemuntion, all of which shall be pald 10 you, subject to the terms of any Prior
Deed af Trust,

{ce} SECURITY INTEREST: We will join with you in signing and filing documents and, al our
expense, in doing whatever you belleve is necessary to perfect ond continue the pecfection of your lien and
security interest in the Premises,

(f) OUR AUTHORITY TO YOU: If we fail to perfore our obligations under this Deed of Trust, you
moy, if you choose, perform our obligntions and poy such cosis ond expenses. You will add the omownls
you advance in the sums owing oo the Note, on which you will charge Interest ot the interest mate set forth
in the Notes, Hf, for example, we fail io honor our promises to maintain insurance in effect, or to pay Gling
fees, taxes or the costs necegsory 19 keep the Premises fn good candition and repalr or to perform ony of our
other ngreements with you, you may, If you choose, advance ony sums to eollsfy any of our ogresments wilh
you and charge us Interest on such advances al the interest rete set forth in the Note, This Deed of Trust
secures all auch advances, Your payments on our bebolf will not eure our follure to perform our promises in
this Deed of Trust. Any reptucement insurance that you obtain to caver oes or damnges to the Premises moy
be Lnmited to the amount owing on the Note plus the amount of any Prior Deeds of Trusts,

(2) PRIOR DEED OF TRUST: IF the provisions of this puragraph are completed, this Decd of Trust ts
subject and subordionte to a prior deed of trust doted March 10, 2006 and given by us for the
benefit of American Brokers Conduit

as beneficiary, in the orlginal amount of § 327,642.00 (the "Prior Deed of Trust"), We shall nat
increase, mmend or modify the Prior Deed ef Trust without your prior written consent and shel) upon receipt
ef any writlen notice from the holder of the Prior Deed of Trust promptly deliver a copy of such naties to
you, We shall pay and perfarm ol! of our obljgutions onder the Prior Deed of Trust os and when required
under the Prior Deed of Trust.

(h) HAZARDOUS SUBSTANCES; We shall not cause or permit the presence, use, disposal, Rorage,
or relense of any Hazardous Sebstances on or In the Premises, We shoil not do, nor allow entyone else to do,
anything effecting the Premises that is in viointlon of ony Zavironmentel Law. The preceding pwa sentences
shall net apply to the presence, use, or storage on the Premises of small quantities of Hazardous Substances
thal are generally recognfzed to be appropriate to normal residential uses und ta mulntenance of the Premises,
As used in dis pamgraph, "Hazardous Substances" ore those substances defined os toxfa or boeordous
substances by Enviranmentol Low and the following substonces: gnsoline, kerosene, other flammable or
toxle petraloum products, toxlo pestleittes and herbieldes, volatile solvents, materiols contuining osbestos ar
formaldehyde, and radlonctive moterinis. As used in this paregraph, “Environmental Law" means federal
lows and laws of the jurisdiction whers the Premises are Tocaled thot relate to benlth, safety or environmental
Protestion,

(} SALE OF PREMISES: We will not soll, transfer ownership of, moriguge or otherwise dispose of
our interest In the Premises, jn whole or In port, or permit ony other Hen or claim opninst the Premises
without your prior wrilten consent.

() INSPECTION: We will permit you to inspect the Premises al any rerscnoble time,

NO LOSS OF RIGHTS: The Note and this Deed of Trost moy be negotiated or assigned by you without
yeleasing us or the Premises, You may add or release uny person of property obligated under the Note and
this Deed of Trost witheut loslag your rights in the Premises,

DEFAULT: Except os may be prohjbited by applicable law, ond subject to any advance notices and cure
perind If required by applicable low, if sny event or conditlon described in Porngraph 12.A. of the Nats
occurs, the Trustes may foreclose upan this Deed of Trust or sell the Premises ot » public sote, This means
thot you or the Trustee moy arrange for the Premises to be seld, 03 provided by Inw, in order ta pay off
whet we owe on the Note ond under this Deed of Trust, Lf the money you receive from the salt fs not
enough to pay off what wo owe you, we will still ewe you the difference which you may scak to collect
from us in sccordance with applicable law, In addition, you of the Trustee may, in accordance wilh
applicable law, (i} enter on and toke possession of the Premises; (i) collect the rental poymente, including
over-dué tenial payments, directly from tenonte; (i) manoge the Premises: and (iv) sign, cancel ond change
Ieases. We ngree thet the interest rate set ferth in the Note will continne before and ofier o default, entry of a
judgment and foreclosure of public sale. In addition, you sholl be entiled to collect ofl reasonable feos and
costs actually incurred by you in proceeding to foreclosure or public sale, including, but not {imited ta,
trustee's fees, reasonable attorneys fees and costs of documentury evidence, abstracts and Uue reports,

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ASSIGNMENT OF RENTS; APPOINTMENT GF RECEIVER; As atiditional secury, we assign to you
the renta of the Premiscs, You or o mcejver’appolated by the courts shall be entitled to enter upon, toke
possession of and manage the Premises and collect the rents of the Promised including those pest die,

WAIVERS: To the catent permitted by applicabls Imw, we walve and release ony ercor or defecis in
proceedings to enfores this Deed of Trust and hereby waive the benefit of any presem or future lawe
providing for stay of execution, extension of time, exemption from atachment, levy sed sale ond homestead
exemption.

DINDING EFFECT: Each of us shall be fully responsible for ol] of the promises end agreements in this
Decd of Trust, Unill the Note has been pafd fo full and your obligation to make further advances under the
Note bes teen terminated, the provisions of this Deed of Trust will be binding on us, our legal
representatives, our heirs and oll future owners of the Premises, This Deed of Trust is for your benelit and
for the benefit of anyone to whom you may nssign il, Upon payment in full of oll amounts owing to you
under the Note and this Deed of Trusi, ond provided ony obligation to make further advances under the Note
has terminated, this Deed of Trust and your rights in the Premises sholl end.

NOTICE: Except for any notice required under applicable Jaw to be given in another manner, (a) any notice
to us provided for in this Deed of Trust shall be given by delivering it ar by mailing euch notice by regular
first class mall addressed to us at the Inst addvese appearing In your records or at such other address os we
may designute by polfce to you ns provided hereln, aad (b) ony notice to you sholl be given by certified
mail, return receipt requested, to your address nf 4227 BERKLEY COURT, KING GEORGE, King
George, VA 22485

or to such other eduiress ns you may designute by notice to us, Any notice provided for tn this Deed of Trust
shall be deemed to hove been given ta us or you when given in the manner designated herein,

RELEASE: Upon payment of all sums secured by this Deed of Trust end provided your obligation to make
further advances under the Note hos terminued, the Trustee shall discharge this Deed of Trust without
charge to ug, except that we sholl pay any fers for recording of o satisfaction of Uils Deed of Trust,

GENERAL: You can walve or delny enforcing any of your rights under this Deed of Trust without losing
them, Any waiver by you of ony provislans of this Deed of Trust will not be o wolver of thet or any other
provision ot any other occasion.

TRUSTEE: Trustee accepis the trusts herein created when this Deed of Trust, duly exceuted and
acknewledged, fs made o publfe record os provided by law. Trustee, by Its ncceptunes hereof, agrecs to
perform ond fulfilt the rusts herein created, and shall be Noble only for ila negligence or misconduct. The
‘Trustee wolves any slalutory fee and ogrecs ta fccept reasonnble compensation from Grantor for any
services rendered by it tn accordance with the terms of this Deed of Trust. Upon receipt of Trustee of
Instructions from Beneflciory at any tne or from time to time, Trustee shall (a) give any notice or direcilon
or exercise any tight; remedy or power hereunder or In respect of the Prentisea as sholl be specified in euch
Instructions, und (b) approve os satisfactory all matters required by the terms hereof lo be callsfactory to
Trustee or Beneficiary. Trustes may, but need nol, take any of such nections in the cbeence of auch
instructions. Tronic may tesign st any tie upon giving of not less than 30 days' prior notice to
Beneiicinry, bot will continue to act as (rusite until Its successor shall hove been chosen and qualified, In the
event of tho death, removal, resignation, or refusel or innbility to act of Trustce, Beneficlory sbull have the
Inevocubly power, with or without cause, without notice of any kind, without speelfying any reason
therefor, and withoot applying to any court, to select ond appoint o successor Lrustes by Gling « deed or
other instrument of oppointment far record in each office in which thls Deed of Trust ts recorded, ond upon
such recordation dhe suecessor trustee chall become vested with the same powers, rights, duties and uuthority
af the Trostee with the same effect os if originally made Trustee hereunder. Such successor shell nol be
required to give bond for the faithCul performance of ite duties unless required by Boneflelary.

VIRGINIA CODE PROVISIONS: This Deed of Trust ts made under and pursunnt to the provisions of the
Coda of Virginia, Sections 55-59, 55-60 ond 26-49, as amended, ond shall be construed to impose and
confer all the rights, datics and obligations prescribed by sald Sections 55-59, 55-60 und 26-49, us
amended, except a5 herein otherwise resiricied, expanded or changed, Including without {Imitation the
following rights, duties mod obligations described in short form:

(a) Exemptions waived.

(b) Subject to [ofall on default.

(c) Renewal, extension, or reinstatement permitied.

(d) Substitution of Truster by the Beneficinry is permitted for any reason whotsnever, and eny number
of times without exbaveting of the right to do sc,

(¢) Advertisement required in ony newspaper of gencral circulation in

of

[Type of Recording Jurisdiction} (Name of Recording Iuriedictlon]
once o Week for two succonsive weeks.

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sm OaSsrckAo

(8 The trustees may require 4 deposit in the amount of Ten Percent (10%) of the unpold princlpal
indebte: thes secured hereby to accompany each bid at foreclopure palo or sale in tow thercol.

Grnton EDDY RAMIREZ

(SEAL)
Grantor

(SEAL}
Gravtart

(SEAL)
Grantors

STATE OF VIRGINIA, NXAgCxCHNIGEX
County, 38 «Stafford

The foregeing instrument wes acknowl before me this March 10, 2006

(date)
by Eddy Ramirez

My Commission Expires:

nee Pubile [
Pabomed Hawen ny
Commmerneealt of Vitis
Ny Complesien: Expires re
AGA MA WALKER

HELOG + VA Deed of Trias
FE319 (VA) oon Pa Sof

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09/27/2007 15:10 RO ABERE OA 7:ESs Doc 3138-7 Filed 023493408 Page 7 of 10 oasis

uOSSSrcL 41

All that certain lot or parcel of land, situate, lying and being In the Potomac Magisterial District, King George County, Virginia, being
mora particularly described as Lot Thirty-Five (35), CHATHAM VILLAGE, Section One, as shown on Plat of Subdivision preparad by
Webb and Associates, recorded In Daed Book 457 at Page 772, among the land records of King George County, Virginia.

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09/27/2007

15:10 FACT FINDERS

KOSS SrccL42

PLANNED UNIT DEVELOPMENT RIDER

THIS PLANNED UNIT DEVELOPMENT RIDER js mode this 1Oth day of
March, 2006 , ond is incorporated into snd shal} be
deemed to amend ood supplement the Mortguge, Deed of Trust, or Security Deed (the "Security lostrament"}
of the same dale, given by the wadersigned (the “Borrower"}) to secure Borrower's Note to
American Brokers Conduit

(ihe
"Lender") af the same dete ond covering the Property deseribed to thn Security Ingtrument end located at:

4247 BERKLEY COURT, KING GEORGE, King George, VA 22405

[Property Address)
The Property lacludes, but is not Hoilled to, a pares! of land impreved with a dwelling, together with other
such parcels and ceriain common areas and facilities, os described in The Deed, Tha Declaration
of Covenants, Conditions and Restrictions

{die = "Declaration"), The Property Js oo port of o planned unl development known as
CHATHAM VILLAGE

[Nama of Flanved Unlt Developmeall
Qbe "PUD"). The Property also includes Borrower's interest In the bormcowners association or equivalent
cality ownlng or moonging the common oreas ond facilities of the PUD (the “Owners Association") end the
uses, benefits and proceeds of Borrower's interest,

PUD COVENANTS, Io addition to the covenants nad agreements made in the Security lostrumeat,
Bosrower ad Lender further covenant and agree ay follows;

A. PUD Obligations, Borrower sholl perform all of Borrower's obligations under the PUD's
Constituent Documents, The "Constituent Documents" are the (1) Declaration; (8) articles af incorporation,
trust Insirument or muy equivalent document whiel: creates the Owners Association; and (ili) any by-Inwa or
other rules or regulations of the Owners Associstion, Borrower shal] promplly pay, when dug, all dues aod
Raseesrotols imposed pursuant to the Constttuent Documents,

pot #:519821 APPL #:0001201905
MULTISTATE PLID RIDER - Single Family » Fancle MarfFreddie Mac UNIFORM INSTRUMENT pp
WM31 0008 Page 1 of} Toitlala: ae

pm omy ‘MP MORTGAGH FORMS - (00)521-7291 Form 3150 1/01

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15:11 FACT FINDERS (FAX)

enQS Soria

HE, Property Josuranes, So long as the Gwoers Associotian malntalns, with a generelly sccopted
insurance carrer, @ “muster” or "bfanket” policy jasuring the Property which is satisfactory to Lender ond
which provides insurance caveroge in the amounts (including deductihts levels), for the periods, ond ngninst
loss by fire, hazards included within the term "extended coveroge," ood any ether hazurds, including, but not
limited to, curthqunkes nod Moods, for which Leader requires Insurnoee, then; (2) Lender waives the provision
in Sectton 3 for the Periodic Paymtent to Lender of the yearly premium insteliments for property insurance on
ibe Property; and (ii) Bormwer's obligation under Section 5 to maininin property insurance coverage on the
Property is deemed satisfied to the extent thal the required coverage is provided bp dhe Qwoere Associntion
policy.

What Leader requires us o condition ef this waiver con change during the terot of the Jou,

Borrower etl give Leoder prompt notices of any Inpse- in required property Insurance coverage
provided by the mester or blanket policy,

In the event of a distribution of property insurance proceeds ia lieu of restorition er repair followlog o
Jong to the Property, ar in common teas oa facilities of the PUD, any proceede payable to Borrowor ore
hereby assigned and sholl be pold to Lender, Londer hall upply the proceeds to the suns secured by the
Security Instrument, wheller ar out then due, with the excess, {f any, pald to Borrower,

C, Public Liability Insurance, Borrower shall take such actions os moy be reasonable to Ingure thal the
Owners Association mulntoing o public Wobillty insurnace policy ueceplablo [In form, omount, nod extent of
covorage to Lander,

D, Coudcmuation, Ths proceeds of any eward or claim for damages, direct or consequential, payable
ta Basrawer in conaection with any coodemonlon or other takiog of all or any part of the Property or the
cammon oress and fcilides of the PUD, or for nny conveyance in Hew of condemnation, are hereby oselgned
aod bell be pald to Lender, Such proceeds shell be opplled by Lender to the sump secured by the Security
Insteumnent as provided in Section 11.

E, Lender’s Prior Consent. Borrower shall nat, except after notice to Lender and with Leodor’s prior
written canseal, either partition or subdivide the Property or consent to: (i) the abandonment or terminating of
the PUD, except for abendanment or termination required by Jow in the case of substantial destrictioa by fire
or olher ty or in the case of a taking by condemuation or eminent domnin; (ii) any amendment to an
provision of tie “Constituent Documents" if the provision is for the express benefit of Lender; ali)
termination of professional manngement ood acsumption of soll-monagement of the Owners Associadon; or
(iv) nay action which would have the effect of rendering the public fisbilily insurance coverage melatelned by
the Owners Association waacecpiable io Leader,

PF, Renseailes. If Borrower doce oct poy PUD duce sud nssesimenis wheo doc, then Leader may pay
them, Agcy amounts distursed by Lender under this paragraph F shall become sdditiaanl debt of Borrower
secured by the Security Instrument. Unless Borrower an Lender ngree to olber terms of poymecol, these
amounts lial] bear interes! from the date of disbursement ut the Note rote ned shall be paynble, with interest,
upon notice From Lender to Borrawer requesting payment.

boc =§:319a22 REPL #:0001201955

p.m oa Pape 2083 Form 3150 1/01

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09/27/2007 15:11 GAGERINDERBO47-CSS Doc 3138-7 Filed O3{P&iN8 Page 100f10 P.o4e/051

mnOoesraci44

BY SIGNING BELOW, Borrower cccepis und agrees to the terms aod provisions contained io this PUD

Ruder.
DAR (Seal) (Seal)
&S RAHIREZ *Baorrower *Borrewer
(Seal) (Seal)
-Horower -Borrower
(Seal) (Saal)
Hormwsr “Torrower
(Sea) {Seal}
~Borrower “Borner
DOC #;3189823 APPL $:0001201995
Cpe coy) Page dof 3 Form 3150 1/01
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INSTRUMENT #060004405
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Manet cH 1s F n0k AT 12: osrH
CHARLES V. MASON: CLERK

RECORDED BY: JNM

